




Filed 3/22/18 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2018 ND 74







State of North Dakota, 		Plaintiff and Appellee



v.



Kellen Everad Redtomahawk, 		Defendant and Appellant







No. 20170353







Appeal from the District Court of Burleigh County, South Central Judicial District, the Honorable David E. Reich, Judge.



AFFIRMED.



Per Curiam.



Ryan A. Keefe, Assistant State’s Attorney, Bismarck, ND, for plaintiff and appellee; submitted on brief.



William R. Thomason, Bismarck, ND, for defendant and appellant; submitted on brief.

State v. Redtomahawk

No. 20170353



Per Curiam.

[¶1]	
Kellen Everad Redtomahawk appealed a criminal judgment entered after a jury found him guilty of robbery, a class B felony.
 On appeal, Redtomahawk argues the evidence was insufficient to support the verdict. We summarily affirm under N.D.R.App.P. 35.1(a)(3).

[¶2]	Gerald W. VandeWalle, C.J.

Jon J. Jensen

Lisa Fair McEvers

Daniel J. Crothers

Jerod E. Tufte


